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 Adrienne Hood,
       Plaintiff,

 v.                                                   Case Number 2:17-cv-471
                                                      Judge Sargus, Jr.
 Jason S. Bare., et al.,
       Defendants.

                                  Jury Trial Day 7
                           Wednesday, November 17, 2021
                         before Judge Edmund A. Sargus, Jr.

 For Plaintiff: Sean Walton, Chanda Brown and John Bey
 For Defendants: Westley Phillips and Alana Tanoury
 Court Reporter: Darla Coulter
 Courtroom Deputy: Christin Werner

      •   9:00 a.m. Jury deliberation continues.
      •   Second Allen Charge read. Jurors will continue with their deliberations.

 Juror number 20 placed under oath regarding note received.

      •   2:15 p.m. the jurors cannot come to a unanimous decision. Mistrial declared.
